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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
                                            ‘

      MISTER TWISTER, LLC,
                                                                  Case No.: 1:19-cv-05091
             Plaintiff,
                                                                  Judge Harry D. Leinenweber
      v.
                                                                  Magistrate Judge Sunil R. Harjani
      THE PARTNERSHIPS AND UNINCORPORATED
      ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

             Defendants.

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 29, 2019 [44] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                  NO.                                   DEFENDANT
                  145                                 fishin_addict_lures


       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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